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                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



 DEAN OBEIDALLAH,                                     CASE NO. 2:17-CV-00720-EAS-EPD

    Plaintiff,                                        Chief Judge Edmund A. Sargus

       v.                                             Magistrate Judge Elizabeth Preston Deavers

 ANDREW B. ANGLIN,
   DBA Daily Stormer,

 and

 MOONBASE HOLDINGS, LLC,
   DBA Andrew Anglin,

 and

 JOHN DOES NUMBERS 1–10,
   Individuals who also assisted in the
   publication or representation of false
   statements regarding
   Mr. Obeidallah,

    Defendants.

            PLAINTIFF’S EXHIBIT LIST FOR THE JUNE 12, 2019 EVIDENTIARY HEARING

        Plaintiff Dean Obeidallah respectfully submits to the Court a list of the exhibits he may move

to admit into evidence at the evidentiary hearing scheduled for June 12, 2019. The exhibits have been

divided into binders for each witness. Mr. Obeidallah will provide the Court with copies of these

binders in advance of the hearing.




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I.    DEAN OBEIDALLAH

      1.    Hearing Ex. 01: Dean Obeidallah, Will Donald Trump Ever Say the Words “White

            Supremacist     Terrorism”?,        DAILY     BEAST       (MAY       31,      2017),

            https://www.thedailybeast.com/will-donald-trump-ever-say-the-words-white-

            supremacist-terrorism?ref=scroll.

      2.    Hearing Ex. 02:      Andrew Anglin, Dean Obeidallah, Mastermind Behind Manchester

            Bombing, Calls on Trump to Declare Whites the Real Terrorists, DAILY STORMER (June 1,

            2017), https://dailystormer.name/dean-obeidallah-mastermind-behind-manchester-

            bombing-calls-on-trump-to-declare-whites-the-real-terrorists/.

      3.    Hearing Ex. 03: Affidavit of Todd Price (May 30, 2019).

      4.    Hearing Ex. 04:        @DeanObeidallah, TWITTER (May 27, 2017, 7:15 AM),

            https://twitter.com/DeanObeidallah/status/868470737010647040.

      5.    Hearing Ex. 05:        @DeanObeidallah, TWITTER (May 31, 2017, 3:05 PM),

            https://twitter.com/DeanObeidallah/status/870038445925728259.

      6.    Hearing Ex. 06:        @DeanObeidallah, TWITTER (May 28, 2017, 6:04 AM),

            https://twitter.com/DeanObeidallah/status/868815142175342593.

      7.    Hearing Ex. 07:       @DeanObeidallah, TWITTER (May 29, 2017, 12:10 PM),

            https://twitter.com/DeanObeidallah/status/869269711313416192.

      8.    Hearing Ex. 08:        @DeanObeidallah, TWITTER (May 30, 2017, 1:32 PM),

            https://twitter.com/DeanObeidallah/status/869652642938720258.

      9.    Hearing Ex. 09:        @DeanObeidallah, TWITTER (May 30, 2017, 8:03 PM),

            https://twitter.com/DeanObeidallah/status/869751118494138368.

      10.   Hearing Ex. 10:        @DeanObeidallah, TWITTER (May 31, 2017, 6:10 AM),

            https://twitter.com/DeanObeidallah/status/869903978674487296.



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      11.   Hearing Ex. 11:      Andrew Anglin, Dean Obeidallah, Mastermind Behind Manchester

            Bombing, Calls on Trump to Declare Whites the Real Terrorists, DAILY STORMER (June 1,

            2017), http://bbs.dstormer6em3i4km.onion/t/dean-obeidallah-mastermind-behind-

            manchester-bombing-calls-on-trump-to-declare-whites-the-real-terrorists/110434

            (comments section to article) (only accessible on TOR browser).

      12.   Hearing Ex. 12: Affidavit of Jeffrey Eschbach (May 30, 2019).

      13.   Hearing Ex. 13: Abby Phillip, Dylan Roof Was Active On White Supremacist Web Forum,

            Group        Says,        WASH.          POST         (June        22,        2015),

            https://www.washingtonpost.com/news/post-nation/wp/2015/06/22/dylann-

            roof-was-active-on-white-supremacist-web-forum-southern-poverty-law-center-

            says/?noredirect=on&utm_term=.a7d9be9174e4.

      14.   Hearing Ex. 14: Jo Cox Suspect Thomas Mair “Watched YouTube Gun Video”, BBC NEWS

            (Nov. 21, 2016), https://www.bbc.com/news/uk-38051593.

      15.   Hearing Ex. 15: Mike James, Racist “Assassin” Indicted as Terrorist In NYC Murder of

            Black        Man,         USA         TODAY           (Mar.        27,        2017),

            https://www.usatoday.com/story/news/2017/03/27/racist-assassin-indicted-

            terrorist-nyc-murder-black-man/99705466/.

      16.   Hearing Ex. 16: Andrew Anglin, Steven Crowder Allegedly Hunting Manchester Bombing

            Mastermind Dean Obeidallah in ISIS-Occupied Syria!, DAILY STORMER (Aug. 29, 2017),

            https://dailystormer.name/steven-crowder-allegedly-hunting-manchester-bombing-

            mastermind-dean-obeidallah-in-isis-occupied-syria/.




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II.    GREG ANGLIN

       17.   Hearing Ex. 17: Ohio Articles of Organization for Moonbase Holdings, LLC (Sept.

             2, 2016).

       18.   Hearing Ex. 18: Ohio Trade Name Registration of “Andrew Anglin” for Moonbase

             Holdings, LLC (Jan. 5, 2017).

       19.   Hearing Ex. 19:      WhoIs Lookup for DailyStormer.com, WHOIS (Nov. 16, 2017),

             http://keepmeup.com/dailystormer.com.

       20.   Hearing Ex. 20: Ohio Trade Name Registration of “Daily Stormer” for Andrew

             Anglin (Dec. 1, 2016).

       21.   Hearing Ex. 21:      Application for Post Office Box Service for PO Box 208,

             Worthington, OH 43085.

       22.   Hearing Ex. 22: E-mail from James Tyack, Attorney, The Tyack Law Firm Co.,

             L.P.A., to Abid Qureshi, Partner, Latham & Watkins LLP (Nov. 16, 2018, 3:27 PM).

III.   JOHN BAMBENEK

       23.   Hearing Ex. 23: John Bambenek, Expert Witness Report (June 10, 2019).

       24.   Hearing      Ex.    24:         List     of   BitCoin   Transactions      for    Wallet

             19m9yEChBSPuzCzEMmg1dNbPvdLdWA59rS (June 3, 2019).

       25.   Hearing     Ex.    25:     Chart       Summarizing   BitCoin   Received     at   Wallet

             19m9yEChBSPuzCzEMmg1dNbPvdLdWA59rS from January 2017 to June 2019

             (June 3, 2019).

       26.   Hearing Ex. 26: Affidavit of Krystle M. Simmons (Feb. 15, 2019).

       27.   Hearing Ex. 27: Monthly Statements for the Account Number ending in “0545” at

             J.P. Morgan Chase Bank, N.A. from February 12, 2016 to January 14, 2019.




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           28.     Hearing Ex. 28: Chart Summarizing Volume of Deposits Into the Account Number

                   ending in “0545” at J.P. Morgan Chase Bank, N.A. from June 1, 2017 to January 19,

                   2019 (June 10, 2019).



    Dated: June 11, 2019

                                                   Respectfully submitted,


                                                  /s/ Subodh Chandra (Trial Counsel)
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the D.C. Bar.

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